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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                 8:16CR66
                                            )
      vs.                                   )
                                            )
JOSE CANTU, ERICK MOLINA,                   )                  ORDER
MAURICIO CABRERA, LORINDA                   )
CABRERA,                                    )

                    Defendants.


       This matter is before the court on defendant Lorinda Cabrera’s unopposed Motion
to Continue Trial [79]. Counsel needs additional time to conduct further investigation and
explore plea negotiations. The defendant shall comply with NECrimR 12.1(a). For good
cause shown,

      IT IS ORDERED that the Motion to Continue Trial [79] is granted, as follows:

      1. The jury trial, for all defendants, now set for August 30, 2016 is continued to
         October 18, 2016.

      2. Defendant is ordered to file a waiver of speedy trial as soon as practicable.

      3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
         justice will be served by granting this continuance and outweigh the interests of
         the public and the defendant in a speedy trial. Any additional time arising as a
         result of the granting of this motion, that is, the time between today’s date and
         October 18, 2016, shall be deemed excludable time in any computation of time
         under the requirement of the Speedy Trial Act. Failure to grant a continuance
         would deny counsel the reasonable time necessary for effective preparation,
         taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) &
         (B)(iv).

      DATED August 23, 2016.

                                  BY THE COURT:

                                  s/ F.A. Gossett, III
                                  United States Magistrate Judge
